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 7                          UNITED STATES DISTRICT COURT
 8                        CENTRAL DISTRICT OF CALIFORNIA
 9   BOARD OF TRUSTEES OF THE       ) CASE NO. 2:19-cv-02082
10
     CALIFORNIA IRONWORKERS         )
     FIELD PENSION TRUST, BOARD
     OF TRUSTEES OF THE             ) COMPLAINT:
11
     CALIFORNIA IRONWORKERS         )   1. BREACH OF WRITTEN
12   FIELD WELFARE TRUST, BOARD )          COLLECTIVE BARGAINING
     OF TRUSTEES OF THE             )      AGREEMENT AND RELATED
13   CALIFORNIA FIELD
     IRONWORKERS VACATION           )      TRUST AGREEMENTS
14   TRUST FUND, BOARD OF           )   2. VIOLATION OF SECTION 515 OF
     TRUSTEES OF THE CALIFORNIA )          ERISA
15   FIELD IRONWORKERS              )
     APPRENTICESHIP TRAINING AND
16   JOURNEYMAN RETRAINING          )
17   FUND, BOARD OF TRUSTEES OF )
     THE CALIFORNIA AND VICINITY )
18   FIELD IRONWORKERS ANNUITY )
     TRUST FUND, BOARD OF
19   TRUSTEES OF THE CALIFORNIA )
     FIELD IRONWORKERS              )
20   ADMINISTRATIVE TRUST, BOARD )
     OF TRUSTEES OF THE             )
21   CALIFORNIA FIELD
     IRONWORKERS LABOR              )
22   MANAGEMENT                     )
23
     COOPERATIVE TRUST FUND, AND )
     BOARD OF TRUSTEES OF THE       )
24   IRONWORKERS WORKERS’           )
     COMPENSATION TRUST,
25
                                    )
                Plaintiffs,         )
26                                  )
27   v.                             )
                                    )
28   B.F. STEEL, INC., a California )
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                                      COMPLAINT
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     corporation,                             )
 1
                                              )
 2                  Defendant.                )
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 4                                            )
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                                              )
 6                                            )
                                              )
 7
                                              )
 8                                            )
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10   Plaintiffs complain and allege as follows:
11                               JURISDICTION AND VENUE
12   1.    This Court has jurisdiction over this case under Section 502(e) of the Employee
13   Retirement Income Securities Act of 1974 (“ERISA”), as amended, 29 U.S.C. §
14   1132(e), which grants the district courts of the United States, the exclusive jurisdiction
15   over civil actions brought by a fiduciary pursuant to Section 502 (a)(3) of ERISA, 29
16   U.S.C. § 1132(a)(3), to redress violations or enforce the terms of ERISA or an
17   employee benefit plan governed by ERISA. Such jurisdiction exists without respect to
18   the amount in controversy or the citizenship of the parties, as provided in Section
19   502(f) of 29 U.S.C. §1132(f).
20   2.    This Court also has jurisdiction over this case pursuant to Section 301(a) of the
21   Labor Management Relations Act of 1947 (“LMRA”), 29 U.S.C. § 185(a), which
22   grants the district courts of the United States original jurisdiction over suits for
23   violation of contracts between an employer and a labor organization representing
24   employees in an industry affecting commerce, without respect to the amount in
25   controversy and the citizenship of the parties.
26   3.    Venue is proper in this Court pursuant to Section 502(e)(2) of ERISA, 29 U.S.C.
27   § 1132(e)(2), and Section 301(a) of the LMRA, 29 U.S.C. § 185(a), as it is the district
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 1   in which the subject employee benefit plans are administered, it is the district in which
 2   the relevant acts took place, and it is the district in which monies are due and payable.
 3   4.    To the extent this Complaint sets forth any state law claims, this Court has
 4   supplemental jurisdiction over those claims pursuant 28 U.S.C. § 1367(a).
 5                                          PARTIES
 6   5.    Plaintiffs are the trustees of the CALIFORNIA IRONWORKERS FIELD
 7   PENSION TRUST (“Pension Trust”), CALIFORNIA IRONWORKERS FIELD
 8   WELFARE TRUST (“Welfare Trust”), CALIFORNIA FIELD IRONWORKERS
 9   VACATION        TRUST       FUND      (“Vacation      Trust”),   CALIFORNIA        FIELD
10   IRONWORKERS           APPRENTICESHIP            TRAINING         AND     JOURNEYMAN
11   RETRAINING FUND (Training Fund”), CALIFORNIA AND VICINITY FIELD
12   IRONWORKERS ANNUITY TRUST FUND (“Annuity Fund”), CALIFORNIA
13   FIELD     IRONWORKERS           ADMINISTRATIVE            TRUST        (“Admin.    Trust”),
14   CALIFORNIA FIELD IRONWORKERS LABOR MANAGEMENT COOPERATIVE
15   TRUST       FUND       (“LMC      Trust”),      and    IRONWORKERS           WORKERS’
16   COMPENSATION TRUST (“Workers’ Comp. Trust”), (collectively “Trust Funds”).
17   6.    The Trust Funds are each duly organized and operating in the State of California.
18   7.    The Trust Funds are multiemployer trust funds created and maintained pursuant
19   to Section 302(c) of the LMRA, 29 U.S.C. § 186(c).
20   8.    The Pension Trust, Welfare Plan, Vacation Trust, Training Fund, and Annuity
21   Fund are multiemployer plans within the meaning of Sections 3(37) and 515 of ERISA,
22   29 U.S.C. §§1002(37)(A) and 1145, and the Plaintiff trustees of these five Trust Funds
23   are “fiduciar[ies]” as defined in Section 3(21)(A) of ERISA, 29 U.S.C. § 1002(21)(A).
24   9.    Plaintiffs are informed and believe, and allege thereon, that Defendant B.F.
25   STEEL, INC. (“Defendant”), is and at all times relevant herein was, a corporation
26   organized and existing under the state laws of the State of California with its principal
27   place of business in Harbor City, California.
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                             FIRST CLAIM FOR RELIEF
 1
                  BREACH OF WRITTEN COLLECTIVE BARGAINING
 2                AGREEMENT AND RELATED TRUST AGREEMENTS
 3   10.   Plaintiffs hereby incorporate by reference paragraphs 1 through 9 above to the
 4   same effect as if set forth verbatim here.
 5   11.   On or about July 1, 2017, Defendant executed an agreement entitled Iron
 6   Workers Independent Agreement (“Independent Agreement”).           Attached hereto as
 7   Exhibit 1 and incorporated herein by reference is the executed copy of the Independent
 8   Agreement.
 9   12.   On or about July 1, 2017, Defendant executed an agreement entitled Contributing
10   Employers Agreement.       Attached hereto as Exhibit 2 and incorporated herein by
11   reference is the executed copy of the Contributing Employers Agreement.
12   13.   By and through the Independent Agreement, Defendant has agreed to be bound
13   by the terms and conditions of the collective bargaining agreement known as the Iron
14   Worker Employers State of California and a portion of Nevada… and District Council
15   of Iron Workers of the State of California and Vicinity Master Agreement (“Master
16   Agreement”), and the declarations of Trust for each of the Trust Funds (“Trust
17   Agreements”). The Master Agreement and Trust Agreements are collectively referred
18   to herein as the “Agreements.” At all relevant times herein, Defendant was obligated
19   under terms and conditions of the Agreements.
20   14.   Pursuant to the Agreements and the rules, regulations and procedures of the Trust
21   Funds, Defendant is required to submit true and complete monthly reports, and pay to
22   the Trust Funds, and each of them, certain sums for each hour paid and/or worked
23   during the month by iron workers employed by Defendant (“contributions”).
24   15.   Said reports and contributions were agreed to be due and payable by a date
25   certain in the succeeding month in which the hours of work was performed. Defendant
26   is required to submit monthly reports showing zero hours if no iron workers are
27   employed.
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 1   16.   Pursuant to the terms of the Agreements, Defendant is required to ensure its
 2   subcontractors satisfy all obligations under the Agreements, including the payment of
 3   the contributions, and Defendant is primarily liable for any unpaid contributions owed
 4   as a result of the hours paid and/or worked by the iron workers employed by its
 5   subcontractors.
 6   17.   Pursuant to the terms of the Agreements, the Trust Funds are authorized to
 7   examine and audit the books and records of Defendant to determine whether Defendant
 8   is making full and prompt payment of all sums required to be paid to the Trust Funds.
 9   The Agreements further provide that in event an audit discloses that Defendant has
10   failed to correctly report and pay contributions in accordance with the Agreements for
11   reason other than clerical error or omission, Defendant shall be liable for an hourly
12   charge for the audit, the unpaid contributions, liquidated damages, reasonable
13   attorney’s fees and any other costs of collection.
14   18.   The Agreements are binding upon the heirs, executors, administrators,
15   successors, purchasers, and assigns of Defendant, including any name or style under
16   which business is conducted with respect to work covered by the Agreements.
17   19.   Plaintiffs are informed and believe, and allege thereon, at relevant times herein,
18   Defendant performed work covered by the Agreements.
19   20.   Defendant failed to timely pay contributions owed to Plaintiffs as required by the
20   Agreements for the period of at least August 2018 through January 2019 and ongoing.
21   Accordingly, Defendant is in breach of the Agreements.
22   21.   By reason of the foregoing, Defendant is obligated to pay Plaintiffs unpaid
23   contributions in an amount to be established by proof at trial of at least $185,255.53.
24   22.   Pursuant to the Agreements, Defendant is obligated to pay to Plaintiffs liquidated
25   damages for the determinant caused by its failure to pay contributions owed to
26   Plaintiffs in a timely manner. Plaintiffs are informed and believe, and thereon allege,
27   that liquidated damages are due and payable from Defendant to Plaintiffs assessed
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 1   through March 14, 2019 in an amount to be established by proof at the time of trial of
 2   at least $37,096.12.
 3   23.   Pursuant to the Agreements, Defendant owes Plaintiffs interest on all unpaid
 4   contributions from the dates the sums were originally due to the Trust Funds. Plaintiffs
 5   are informed and believe, and thereon allege, that interest is due and payable from
 6   Defendant to Plaintiffs assessed through March 14, 2019 in an amount to be established
 7   by proof at the time of trial of at least $6,182.87.
 8   24.   It has been necessary for Plaintiffs to engage legal counsel for the purpose of
 9   collecting the amounts due. Plaintiffs have also incurred auditing and other costs
10   related to such collections. Pursuant to the Agreements, Plaintiffs are entitled to their
11   reasonable attorney’s fees and all costs in connection therewith in an amount to be
12   established by proof at the time of trial.
13   25.   Plaintiffs are informed and believe, and thereon allege, that there is no legal
14   excuse for Defendant’s breach of the Agreements.
15   26.   The Agreements do not require Plaintiffs to exhaust administrative remedies
16   before initiating this action.
17                               SECOND CLAIM FOR RELIEF
18                          VIOLATION OF SECTION 515 OF ERISA
19   27.   Plaintiffs hereby incorporate by reference paragraphs 1 through 26 above to the
20   same effect as if set forth verbatim here.
21   28.   Pursuant to Section 515 of ERISA, 29 U.S.C. § 1145, “[e]very employer who is
22   obligated to make contributions to a multiemployer plan under the terms of the plan or
23   under the terms of a collectively bargained agreement shall, to the extent not
24   inconsistent with the law, make such contributions in accordance with the terms and
25   conditions of such plan or such agreement.”
26   29.   Defendant failed to timely pay contributions owed to Plaintiff as required under
27   the Agreements from at least August 2018 through January 2019 and ongoing. As such,
28   Defendant is in violation of Section 515 of ERISA.
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                                         COMPLAINT
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 1   30.      By reason of the foregoing, and pursuant to the Agreements and section
 2   502(g)(2) of ERISA, 29 U.S.C. § 1132(g)(2), Plaintiffs are entitled to contributions of
 3   at least $185,255.53, plus liquidated damages, interest, audit fees, attorney’s fees and
 4   costs from Defendant. These amounts shall be established by the proof at the time of
 5   trial.
 6                             PRAYER FOR RELIEF
 7            WHEREFORE, Plaintiffs pray for judgment against Defendant as follows:
 8            1.   For unpaid contributions in an amount as proved of at least
 9   $185,255.53;
10            2.   For liquidated damages in an amount as proved of at least $37,096.12;
11            3.   For interest in an amount as proved of at least $6,182.87;
12            4.   For an Order requiring Defendant to submit their records to Plaintiffs for
13                 the months of February 2019 to the present;
14            5.   For audit expenses in amount as proved;
15            6.   For Plaintiffs’ reasonable attorney’s fees incurred herein;
16            7.   For Plaintiffs’ costs of suit incurred herein; and
17            8.   For such additional relief as the Court deems just and proper.
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19   Dated: March 20, 2019                    /s/ Jasleen D. Ahuja
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                EXHIBIT 1
 Bd. of Trs. of the California Ironworkers     EXHIBIT 1 to COMPLAINT - 8
 Field Pension Trust, et al., v. B.F. Steel,   2:19-cv-02082
 Inc.
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 Bd. of Trs. of the California Ironworkers     EXHIBIT 1 to COMPLAINT - 9
 Field Pension Trust, et al., v. B.F. Steel,   2:19-cv-02082
 Inc.
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  Bd. of Trs. of the California Ironworkers     EXHIBIT 1 to COMPLAINT - 10
  Field Pension Trust, et al., v. B.F. Steel,   2:19-cv-02082
  Inc.
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                 EXHIBIT 2
  Bd. of Trs. of the California Ironworkers     EXHIBIT 2 to COMPLAINT - 11
  Field Pension Trust, et al., v. B.F. Steel,   2:19-cv-02082
  Inc.
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  Bd. of Trs. of the California Ironworkers     EXHIBIT 2 to COMPLAINT - 12
  Field Pension Trust, et al., v. B.F. Steel,   2:19-cv-02082
  Inc.
